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     Ashley M. Gjovik, JD
 1   Pro Se Plaintiff
 2   2108 N St. Ste. 4553
     Sacramento, CA, 95816
 3   (408) 883-4428
     legal@ashleygjovik.com
 4

 5

 6

 7                          UNITED STATES DISTRICT COURT
 8                         NORTHERN DISTRICT OF CALIFORNIA
 9

10   ASHLEY GJOVIK, an individual,                          Case No. 3:23-cv-04597-LB
11                  Plaintiff,                              The Honorable Laurel Beeler
12                  v.
                                                            Date: September 15 2023
13
     APPLE INC, a corporation,
14                                                          Certificate of Service of Summons
                    Defendant.
15                                                          & Local Rule 4-2
16

17

18
                                          Certificate of Summons
19
              Pursuant to FRCP Rule 4 and Civil Local Rule 4-2, the Summons for this case has been
20
     served upon defendant, Apple Inc, a corporation, ‘through’ their designated agent of service, CT
21
     Corporation.1 CT Corporation’s website notes service can be made via regular and certified mail,
22
     in addition to in personal service. Steve Zeltzer, a friend acting as a courier, a person over the
23
     age of 18, and a person not party to this case, has transmitted the Complaint, Summons, and
24

25

26   1
      Apple Inc, “Note: All legal requests that are not made by a government or law enforcement agency
27   must be either personally served at Apple’s headquarters: 20705 Valley Green Drive, Cupertino,
     California, 95014; or served through CT Corporation (Apple’s registered agent for service of
28   process)”, https://www.apple.com/legal/privacy/law-enforcement-guidelines-us.pdf

                                                           1
         CERTIFICATE OF SERVICE OF SUMMONS
          Case 3:23-cv-04597-EMC Document 7 Filed 09/15/23 Page 2 of 7



 1   Local Rule 4-2 papers to CT Corporation via Certified Mail on September 15 2023. 2 3 Mr.

 2   Zeltzer has completed Proof of Service and it is attached.

 3            In compliance with Local Rule 4-2, the papers served include the Complaint, Summons,

 4   Plaintiff’s Disclosure of Interests, Judge Beeler’s ADR and Case Management Preparation

 5   Order, Judge Beeler’s Standing Orders, e-Filing Instructions, and form for consenting to a

 6   Magistrate Judge.

 7            The Complaint was filed on September 7 2023 and Service has been made on September

 8   15 2023, to be delivered (estimated) on Monday 18 2023, within 90-days, and allowing

 9   sufficient time for Case Management meet and confer between Apple and Gjovik prior to the

10   November 16 2023 deadline and the December 7 2023 initial case management conference.

11            In addition, an email was also sent to Apple’s CEO and General Counsel today,

12   September 15 2023, notifying Apple Inc of the lawsuit and incoming papers. Receipts are

13   attached.

14
              I declare under penalty of perjury under the laws of the United States of America that the
15

16   foregoing is true and correct.

17
                                                   Respectfully submitted,
18

19

20
                                                   By___________________________
21
                                                      Ashley M. Gjovik
22
                                                      Pro Se Complainant
23   Dated: September 15 2023
24

25   2
       CT Corporation, “The following delivery methods are available: Hand delivery, certified or
26   regular mail, or parcel (such as FedEx, UPS, or DHL) where authorized by state law.”
     https://www.wolterskluwer.com/en/faq/ct-corporation-service-of-process-sop-
27   faqs?compositeLink=%7B75F622B0-407B-4875-B498-8C0008BE68D4%7D
     3
       Gjovik has refunded Zeltzer the costs of postage and tracking on September 15 2023, and refunded
28   Zeltzer the cost of the legal filing on September 7 2023.

                                                           2
         CERTIFICATE OF SERVICE OF SUMMONS
                       Case3:23-cv-04597-EMC
                      Case  3:23-cv-04597-LB Document
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                                                          Filed09/07/23
                                                                09/15/23 Page
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AO 440 (Rev. 06/ 12) Summons in a Civil Action



                                      UNITED STATE~o,~ISTRICT


                       Ashley M. Gjovik                       )
                                                              )
                                                              )


                            Plaintiff(s)
                                                              )
                                                              )
                                                              )
                                                                                 V                      459
                                 V.                                Civil Action No.
                            Apple Inc.
                                                              )
                                                              )                                                     LB
                                                              )
                                                              )
                                                              )
                           Defendant(s)                       )

                                                 SUMMONS IN A CIVIL ACTION
                                   Apple Inc.
To: (Defendant 's name and address)One Apple Park Way
                                       Cupertino , CA 95014
                                       (408) 996-1010




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or emp loyee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                      MARK B. BUSBY


Date:   m1~b3
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                       Case 3:23-cv-04597-EMC Document 7 Filed 09/15/23 Page 5 of 7


USPS Tracking
                                ®                                                                            FAQs 




                                                                                                        Remove 
Tracking Number:

9589071052701156365897
    Copy          Add to Informed Delivery (https://informeddelivery.usps.com/)




    Expected Delivery by

    MONDAY

    18           September
                 2023 
                                by
                                9:00pm 
    USPS is now in possession of your item as of 3:30 pm on September 15, 2023 in SAN FRANCISCO, CA 94110.



    Get More Out of USPS Tracking:
        USPS Tracking Plus®

    Delivered


    Out for Delivery


    Preparing for Delivery


    In Transit


    Accepted
    USPS in possession of item
    SAN FRANCISCO, CA 94110
    September 15, 2023, 3:30 pm


 What Do USPS Tracking Statuses Mean? (https://faq.usps.com/s/article/Where-is-my-package)


                                                                                                              
  Text & Email Updates


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  USPS Tracking Plus®


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  Product Information
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                         Case 3:23-cv-04597-EMC Document 7 Filed 09/15/23 Page 7 of 7

Notice of Service of Summons: Ashley Gjovik v Apple Inc, Case No. 3:23-cv-04597-
LB, US District Court of Northern California
From legal@ashleygjovik.com <legal@ashleygjovik.com>
To tcook@apple.com, kate.adams@apple.com
Date Friday, September 15th, 2023 at 8:20 PM
September 15 2023 - Notice of Service of Summons


Re: Ashley Gjovik v Apple Inc, Case No. 3:23-cv-04597-LB, US District Court of Northern California


To:
Tim Cook, CEO, Apple Inc, tcook@apple.com
Katherine Adams, General Counsel, Apple Inc, kate.adams@apple.com

Hello,

As of September 7 2023, I am suing Apple Inc in federal court for violations of the Dodd-Frank and Sarbanes–Oxley Acts, violations of a number of
California Labor Codes, violations of the Bane and Ralph Civil Rights Acts, violations of the RICO Act, for IIED and NIED, and for actions which
constitute that the termination of my employment was in violation of the public policy of California and the United States.

This email is to notify you that today, September 15 2023, a Summons, Civil Complaint, and other papers were sent via certified mail to your agent of
process, CT Corporation. I am also attaching digital copies of the documents to this email, and I will include a copy of this email in my Proof of Service e-
filing.

I am representing myself pro se on all pending legal matters against your corporation. I am registered to e-file my own documents and receive e-filed
documents from Apple Inc for this civil case. I can be reached at this email. I will request, as I have since August 2021, that any communications from
Apple Inc to me be in writing, where feasible. For activities like meet/confer, I request that I am either allowed to record the conversations (which can be
sealed with the exception of me being able to report the contents to US gov/court/law enforcement if I believe a law was violated by Apple during the
meeting), and/or to have a witness on all calls. I request advance notice (email, etc) of any phone calls from Apple, due to these concerns and as
detailed in the witness intimidation portions of the civil complaint. My only interest in these requests is to protect myself from additional harm by Apple. If
Apple does not want to harm me, I expect these logistics can be easily sorted out.

November 16 2023 is our deadline to complete meet/confer related to ADR, discovery plans, and other preparation matters. I am preparing my list of
witnesses, requested depositions, and my discovery requests. I look forward to engaging with Apple in good faith, efficiently, and with respect -- and to
litigate this matter on the merits or otherwise find a way to resolve these issues -- and expect the same from Apple Inc. Thank you in advance for your
cooperation.

-Ashley Gjovik

Sent with Proton Mail secure email.




19.70 MB 7 files attached
Order - Case Management.pdf 113.35 KB Ref - Standing Orders.pdf 146.95 KB Ref - Disclosures.pdf 139.70 KB
Ref - ECF.pdf 47.90 KB Form - Magistrate Judge.pdf 590.67 KB Gjovik v Apple Complaint.pdf 5.02 MB Summons.pdf 13.66 MB
